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                          Exhibit 133
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                                  In The Matter Of:
           ALEKSEJ GUBAREV, XBT HOLDING SA and WEBZILLA, INC v.
                         BUZZFEED, INC and BEN SMITH




                                Mr Christopher Steele
                                   June 18, 2018




                                 Original File C Steele Deposition.txt
                              Min-U-Script® with Word Index
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    1                       Mr Christopher Steele

    2            CONFIDENTIAL - ATTORNEYS' EYES ONLY
                IN THE UNITED STATES DISTRICT COURT
    3               SOUTHERN DISTRICT OF FLORIDA
         ______________________________
    4                                   :
         ALEKSEJ GUBAREV, XBT HOLDING : Case No:
    5    SA and WEBZILLA, INC           : 17-cv-60426-UU
                                        :
    6                   Plaintiffs      :
                                        :
    7                   -v-             :
                                        :
    8    BUZZFEED, INC and BEN SMITH    :
                                        :
    9                   Defendants      :
         ______________________________:
   10
   11                       Videotaped deposition

   12                                    of

   13                       Mr Christopher Steele
   14

   15                     On Monday, June 18th 2018

   16
   17                       Commencing at 9.35 am

   18

   19                               Taken at:

   20                            15 Old Bailey

   21                                London
   22                               EC4M 7EF

   23                           United Kingdom

   24

   25    Reported by: Miss Pamela Henley

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                                                                            47

    1                       Mr Christopher Steele

    2              Q.       And what efforts did you make to

    3    verify the allegations concerning Mr Gubarev?

    4              A.       The same.

    5              Q.       What did you learn about XBT?

    6              A.       From the open source search?

    7              Q.       If that is what you are willing to

    8    tell us about.

    9              A.       We did not find anything of

   10    relevance on XBT from the open source search.
   11              Q.       Did you find anything of relevance

   12    concerning Webzilla?

   13              A.       We did.
   14              Q.       And what was that?

   15              A.       It is an article I have got here,

   16    which is -- was posted on 28 July 2009, on
   17    something called CNN iReport, which is -- I can

   18    circulate it if you like.

   19              Q.       What do you understand iReports to

   20    be on CNN?

   21              A.       I do not have any particular
   22    knowledge of that.

   23              Q.       Do you understand that they have no

   24    connection to any CNN reporters?

   25              A.       I do not.

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